             USCA Case #24-1361             Document #2091444 Filed: 12/26/2024                                        Page 1 of 2
                                       UNITED STATES COURT OF A PPEALS
                                        DISTRICT OF COLUMBIA CIRCUIT
                                                      333 Constitution Avenue, NW
                                                       Washington, DC 20001-2866
                                              Phone: 202-216-7000 | Facsimile: 202-219-8530




                                               AGENCY DOCKETING STATEMENT
                            Administrative Agency Review Proceedings (To be completed by appellant/petitioner)
1. CASE NO.                       24-1361                           2. DATE DOCKETED: 11-25-2024
3. CASE NAME (lead parties only) American Electric Power Service Corp., et al.               Federal Energy Regulatory Commission
                                                                                        v.
4. TYPE OF CASE:        Review Appeal Enforcement  Complaint                                                   Tax Court
5. IS THIS CASE REQUIRED BY STATUTE TO BE EXPEDITED?   Yes                                                    No
   If YES, cite statute
6. CASE INFORMATION:
 a. Identify agency whose order is to be reviewed:     Federal Energy Regulatory Commission
 b. Give agency docket or order number(s): EL22-80-000 & -001 (188 FERC ¶ 61,055 & 188 FERC ¶ 62,155)
 c. Give date(s) of order(s):                                     July 25, 2024; September 26, 2024
d. Has a request for rehearing or reconsideration been filed at the agency?     Yes      No
   If so, when was it filled? 08-26-2024    By  whom?     American Electric Power Service Corp., et al.
    Has the agency acted?                  Yes          No If so, when? 09-26-2024
e. Identify the basis of appellant's/petitioner's claim of standing. See D.C. Cir. Rule 15(c)(2):
    The challenged orders address issues regarding the scope of Petitioners' obligations to enter into contracts with PJM Interconnection,
    L.L.C. relating to the construction of new electric transmission facilities and ultimately impose significant additional costs on Petitioners
    and their customers. Petitioners intervened in the underlying FERC proceeding and timely sought agency rehearing.
f. Are any other cases involving the same underlying agency order pending in this Court or any other?
         Yes         No If YES, identify case name(s), docket number(s), and court(s)

g. Are any other cases, to counsel's knowledge, pending before the agency, this Court, another Circuit
   Court, or the Supreme Court which involve substantially the same issues as the instant case presents?
        Yes         No If YES, give case name(s) and number(s) of these cases and identify court/agency:
    Although FERC's September 26, 2024 order denied Petitioners' rehearing request by operation of law, FERC has given notice that it will
    substantively address Petitioners’ pending rehearing request in a future order.
h. Have the parties attempted to resolve the issues in this case through arbitration, mediation, or any other
   alternative for dispute resolution? Yes       No If YES, provide program name and participation dates.



Signature /s/ David M. Gossett                                     Date 12-26-2024
Name of Counsel for Appellant/Petitioner David M. Gossett
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E-Mail davidgossett@dwt.com
                                                      Phone ( 202 ) 973-4216                 Fax ( 202 ) 973-4499
                                           ATTACH A CERTIFICATE OF SERVICE
  Note: If counsel for any other party believes that the information submitted is inaccurate or incomplete, counsel may so
          advise the Clerk within 7 calendar days by letter, with copies to all other parties, specifically referring to the
          challenged statement.
    USCA Form 41
    August 2009 (REVISED)
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                     CERTIFICATE OF SERVICE


     I hereby certify that on December 26, 2024, I caused a true and

correct copy of the foregoing Agency Docketing Statement to be served

on all parties via the Court’s CM/ECF system.



                                    Respectfully submitted,

                                    /s/ David M. Gossett
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